
82 So. 3d 1155 (2012)
William Ambrose TRUDELLE, Petitioner,
v.
STATE of Florida, Respondent.
No. 2D11-3340.
District Court of Appeal of Florida, Second District.
March 9, 2012.
William Ambrose Trudelle, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Joseph H. Lee, Assistant Attorney General, Tampa, for Respondent.
PER CURIAM.
William Trudelle's petition for writ of certiorari is denied without prejudice to his seeking any available postconviction relief.
SILBERMAN, C.J., and CASANUEVA and DAVIS, JJ., Concur.
